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   13

   14                         UNITED STATES DISTRICT COURT
   15                       CENTRAL DISTRICT OF CALIFORNIA
   16

   17   SHERRY BECK, an Individual,                  Case No. 8:16-cv-01084-JLS-DFM
   18                       Plaintiff,               Assigned for all Purposes to
                                                     Honorable Josephine L. Staton
   19          vs.                                   Court Room 10-A
   20   INTERWEST CONSULTING GROUP,
        INC., a Colorado Corporation; and            JOINT RULE 26(f) REPORT
   21   DOES 1-50, Inclusive,
   22                       Defendants.              Date:         July 13, 2016
                                                     Time:         3:00 p.m.
   23

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    1          Plaintiff Sherry Beck (“Plaintiff”) and Defendant Interwest Consulting
    2   Group, Inc. (“Defendant”), by and through their counsel of record, submit the
    3   following Joint Case Management Conference/Rule 26(f) Report in preparation for
    4   the scheduling conference to be held on August 5, 2016, at 1:30 p.m.
    5          Pursuant to Federal Rules of Civil Procedure Rule 26(f), counsel for the
    6   parties conferred regarding case management, the nature of the parties’ claims and
    7   defenses, and possible settlement, to develop a discovery plan and prepare the joint
    8   report to the Court, and to make arrangements for the required Initial Disclosures
    9   between the parties. Alreen Haeggquist participated in the conference on behalf of
   10   Plaintiff. Spencer W. Waldron participated on behalf of Defendant. Pursuant to
   11   Federal Rules of Civil Procedure Rule 26, the parties agreed to exchange initial
   12   disclosures on or before July 29, 2016. In addition, the parties submit their views
   13   and proposals concerning the following topics:
   14   A.     STATEMENT OF THE CASE:
   15          1.      Procedural Background, Jurisdiction, and Service
   16          On May 5, 2016, Plaintiff filed a Complaint in the Superior Court of the State
   17   of California for the county of Orange entitled, Sherry Beck v. Interwest Consulting
   18   Group, Inc. a Colorado Corporation; and DOES 1-50, inclusive, designated as
   19   Case No. 30-2016-00850508-CU-WT-CJC. The Complaint alleges three causes of
   20   action against Defendant for (1) an Interference with the Right to Medical Leave
   21   and Reinstatement in Violation of 29 U.S.C. §§ 2601, et seq.; (2) Interference with
   22   the Right to Medical Leave and Reinstatement in Violation of Government Code §
   23   12945.2; and (3) Wrongful Termination in Violation of Public Policy.
   24          Defendant was served with the Summons and Complaint on May 12, 2016
   25   via personal service. On June 8, 2016, Defendant filed an Answer and Affirmative
   26   Defenses to Plaintiff’s Complaint. On June 10, 2016, Defendant removed the case

   27
        from state court to federal court based on diversity of citizenship and federal
        question.
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    1          2.      Plaintiff’s Allegations
    2          Plaintiff alleges that she was a dedicated and hard-working employee, who
    3   consistently and competently performed her job, up until she was wrongfully
    4   terminated by the Defendant. Unfortunately, after Plaintiff took leave under the
    5   Family Medical Leave Act (“FMLA”) and under the California Family Rights Act
    6   (“CFRA”) to adopt a child, Defendant interfered with Plaintiff’s rights, failed to
    7   restore Plaintiff to her same, or an equivalent position, and instead terminated
    8   Plaintiff’s employment prior to the expiration of her protected leave. The stated
    9   reason for Plaintiff’s termination was pretext for Defendant’s unlawful retaliation
   10   against Plaintiff for taking protected FMLA and CFRA leave. Plaintiff alleges she
   11   has suffered damages due to the wrongful termination of her employment.
   12          3.      Defendant’s Contentions
   13          Defendant denies Plaintiff’s allegations in their entirety and denies that she
   14   has suffered any damages as a result of any alleged wrongdoing by Defendant.
   15   Defendant contends that it did not interfere with Plaintiff’s leave, and Plaintiff’s
   16   termination was based on reasonable factors other than Plaintiff exercising her right
   17   to take a leave of absence, and was otherwise lawful.
   18   B.     LEGAL ISSUES:
   19          1.      Plaintiff’s Position on Key Legal Issues
   20          Plaintiff contends that the key legal issues in this case are as follows:
   21               • Whether Defendant interfered with Plaintiff’s right to medical leave
   22                  and reinstatement under the FMLA and CFRA.
   23               • Whether Defendant wrongfully terminated Plaintiff in violation of
   24                  public policy.
   25               • Whether Defendant failed to restore Plaintiff to her same, or an
   26                  equivalent position.
   27               • Whether the stated reason for Plaintiff’s termination was pretext for
   28                  Defendant’s unlawful retaliation
                                              3         against Plaintiff for taking
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    1                  authorized FMLA and CFRA leave.
    2               • Whether and to what extent Plaintiff suffered damages, including
    3                  damages for loss of wages and benefits and emotional distress.
    4               • Whether Defendant acted with oppression, fraud, malice, and with
    5                  conscious disregard for the rights of Plaintiff.
    6          2.      Defendant’s Position on Key Legal Issues
    7          Defendant contends that the key legal issues in this case are as follows:
    8               • Whether Defendant provided Plaintiff with the requisite leave under
    9                  FMLA and CFRA.
   10               • Whether Defendant interfered with Plaintiff’s leave under the Family
   11                  Medical Leave Act (“FMLA”) and the California Family Rights Act
   12                  (“CFRA”).
   13               • Whether Defendant terminated Plaintiff in violation of public policy.
   14               • Whether Plaintiff suffered any damages as a result of Defendant’s
   15                  alleged actions.
   16               • Whether Plaintiff suffered emotional distress as a result of
   17                  Defendant’s alleged actions and/or failures to act.
   18               • Whether Plaintiff has reasonably mitigated her damages, if any.
   19               • Whether Plaintiff can recover any damages from Defendant for the
   20                  alleged acts and/or failures to act.
   21   C.     DAMAGES:
   22          Plaintiff contends she is entitled to damages from Defendant. Plaintiff seeks
   23   compensatory damages related to lost wages, benefits and emotional distress, as
   24   well as liquidated damages under the FMLA. Plaintiff further seeks punitive and
   25   exemplary damages based upon allegations that Defendant acted with oppression,
   26   fraud, malice, and with conscious disregard for the rights of Plaintiff. The amount
   27   of damages will be determined according to proof at the time of trial. Finally,
   28   Plaintiff seeks her right to reimbursement
                                                4 for attorneys’ fees, expert witness fees,
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    1   and costs associated with this action.
    2          Defendant contends that Plaintiff is not entitled to any damages. Defendant
    3   reserves all rights to seek reimbursement of its fees and costs associated with
    4   defending against Plaintiff’s claims.
    5   D.     INSURANCE COVERAGE:
    6          Defendant has Employment Practices Liability Insurance, $1,000,000.
    7   Defendant is not aware of any reservation of rights at this time.
    8   E.     MOTIONS:
    9          Plaintiff reserves her right to seek leave to file an amended complaint to
   10   assert additional causes of action or to add new or additional parties following initial
   11   disclosures and discovery.
   12          Defendant reserves its rights to seek leave to file an amended answer and
   13   assert additional affirmative defenses following initial disclosures and discovery.
   14   F.     MANUAL FOR COMPLEX LITIGATION:
   15          This is not a complex case. The Parties do not believe the Manual for
   16   Complex Litigation should be utilized in this case.
   17   G.     STATUS OF DISCOVERY:
   18          Plaintiff has propounded a Request for Production of Documents, Request
   19   for Admissions, and Special Interrogatories. Defendant has propounded a Request
   20   for Production of Documents. No depositions have been taken.
   21   H.     INITIAL DISCLOSURES, DISCOVERY AND EXPERTS:
   22          1.      Initial Disclosures.
   23          The parties have agreed to the mutual exchange of initial disclosures on or
   24   before Friday, July 29, 2016.
   25          2.      Preservation of discoverable information.
   26          Each Party has made appropriate arrangements for the preservation of
   27   discoverable information.
   28   ///                                     5
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    1          3.      Discovery Plan.
    2          With respect to the discovery plan required to be stated herein under Fed. R.
    3   Civ. P. 26(f)(3), the Parties state the following:
    4                  A.   Plaintiff’s Subjects On Which Discovery May Be Needed.
    5          Without prejudice to her rights to seek discovery on any relevant issue,
    6   Plaintiff contemplates that she will need and seek discovery to support the basis for
    7   her claims, including the allegations related to interference with her right to take
    8   protected leave and her right to reinstatement and allegations related to wrongful
    9   termination. Plaintiff contemplates further that she will need and seek discovery
   10   concerning the basis for Defendant’s affirmative defenses to Plaintiff’s causes of
   11   action.
   12                  B.   Defendant’s Subjects on Which Discovery Will be Needed.
   13          Without prejudice to its rights to seek discovery on any relevant issue,
   14   Defendant contemplates that it will need and seek discovery concerning the basis
   15   of Plaintiff’s claims, theories of liability and damages, specifically including but
   16   not limited to: Plaintiff’s claims for wrongful termination, interference with
   17   Plaintiff’s leave; plaintiff’s alleged emotional distress; plaintiff’s attempts to
   18   mitigate her damages, if any; Defendant’s defenses to each cause of action
   19   remaining in the Complaint, and any and all factual, evidentiary, and legal support.
   20                  C.   Agreed Upon Methods of Discovery; Timing.
   21          While initial discovery is in progress, the Parties agree that the anticipated
   22   methods of future discovery will include: (1) written discovery in the form of
   23   Interrogatories, Requests for Admissions, and Requests for Production of
   24   Documents; (2) written discovery via issuance of subpoenas to third parties; and (3)
   25   oral depositions of Plaintiff and other witnesses.
   26          4.      Electronically Stored Information.
   27          The parties have reviewed the Guidelines Relating to the Discovery of
   28   Electronically Stored Information (“ESI”).
                                               6 The Parties currently do not anticipate
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    1   that any particular issues regarding ESI will arise.
    2          5.      Claims of Privilege / Protection of Trial Material.
    3          The Parties currently do not anticipate that any particular issues regarding
    4   claims of privilege or of protection as trial-preparation materials will arise.
    5   However, Plaintiff believes that a protective order, may be necessary and
    6   appropriate in this case.
    7          6.      Changes To Discovery Imposed By The FRCP Or Local Rule.
    8          The Parties do not anticipate any changes to the discovery limits imposed by
    9   the Federal Rules of Civil Procedure. Should additional discovery beyond what is
   10   allowable under the Federal Rules of Civil Procedure be necessary, the Parties
   11   agree to meet and confer in good faith to resolve the issues. Should the Parties be
   12   unable to resolve discovery issues, both Parties reserve their right to bring matters
   13   before the Court.
   14   I.     DISCOVERY CUT-OFF:
   15          As indicated in Section P below, the Parties agree that a cut-off date for the
   16   completion of discovery and the hearing of discovery motions shall be January 24,
   17   2017. Moreover, the Parties agree that initial expert witness disclosures under Fed.
   18   R. Civ. P. 26(a)(2) will be made by February 7, 2017.
   19   J.     DISPOSITIVE MOTIONS:
   20          Defendant will likely file a motion for summary judgment and/or summary
   21   adjudication of issues following written discovery and Plaintiff’s deposition.
   22   K.     SETTLEMENT:
   23          The parties have met and conferred, and have agreed to use Settlement
   24   Procedure No. 2 (Court Mediation Panel) or No. 3 for this matter (Private
   25   Mediation). The parties anticipate selecting a mediator and a mediation date by or
   26   shortly after the August 5, 2016 scheduling conference.
   27   L.     TRIAL ESTIMATE:
   28          Plaintiff requests a jury trial. The7 parties estimate the length of trial to be
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    1   five to seven days, but may need to revise this estimate following discovery.
    2          Without waiving its right to revise this estimate, Plaintiff estimates calling
    3   between five (5) and ten (10) witnesses at trial, not including expert or rebuttal
    4   witnesses. Without waiving its right to revise this estimate, Defendant estimates
    5   calling between five (5) and ten (10) witnesses at trial, not including expert or
    6   rebuttal witnesses.
    7   M.     TRIAL COUNSEL:
    8          For Plaintiff, the case shall be tried by Alreen Haeggquist and Aaron M.
    9   Olsen. For Defendant, the case shall be tried by Karl R. Lindegren and Spencer W.
   10   Waldron.
   11   N.     INDEPENDENT EXPERT OR MASTER:
   12          The Parties do not believe that the appointment of a special master is
   13   necessary for this matter.
   14   O.     OTHER ISSUES:
   15          At this time, the Parties do not believe that any other orders are necessary
   16   under Federal Rules of Civil Procedure, Rule 16(b), (c), or 26(c).
   17   P.     PROPOSED SCHEDULE OF TRIAL AND PRE-TRIAL DATES:
   18          The Parties propose the following schedule of pre-trial and trial dates:
   19
                            Matter         Weeks           Parties’        Court
   20                                    Before Trial      Proposal
   21                Last to Amend 60 days from
                    Pleadings or Add Sch. Conf. October 3, 2016
   22
                         Parties
   23
                      Fact Discovery          21
   24                                                   January 24, 2017
                         Cut-Off
   25
                    Last Day to Serve         19
   26                 Initial Expert                    February 7, 2017
   27                    Reports

   28                                             8
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    1             Matter           Weeks         Plaintiff’s     Defendant’s       Court
                                 Before Trial    Proposal         Proposal
    2
              Last Day to File        19
    3         Motions (Except
                                                 February 7,
    4         Daubert and all                                   February 7, 2017
                                                    2017
              other Motions in
    5             Limine)
    6     Last Day to Serve                     March 7, 2017 March 7, 2017
    7      Rebuttal Expert            15
               Reports
    8        Last Day to                         March 28,      March 28, 2017
    9          Conduct                            2017
             Settlement               12
   10       Proceedings
   11     Expert Discovery                      April 4, 2017     April 4, 2017
               Cut-Off                11
   12
          Last Day to File         Expert
   13     Daubert Motions         Disc. Cut- April 11, 2017 April 11, 2017
   14                             Off plus 7
                                    days
   15
          Last Day to File  Final Pre-
   16    Motions in Limine Trial Conf.
                                        April 28, 2017 April 28, 2017
   17   (excluding Daubert Date less 28
             Motions)         days
   18
          Final Pre-Trial             3
   19
        Conference (Friday                      May 26, 2017     May 26, 2017
   20      at 1:30 p.m.)
   21   Exhibit Conference   Friday
   22     (Friday at 3:30  before trial June 16, 2017            June 16, 2017
               p.m.)
   23

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    1          Matter            Weeks         Plaintiff’s    Defendant’s     Court
                               Before Trial    Proposal        Proposal
    2
        Trial: Jury or Court
    3    (Tuesday at 9:00                     June 20, 2017   June 20, 2017
                a.m.)
    4

    5

    6   Date: July 22, 2016                          FISHER & PHILLIPS LLP
    7

    8                                          By:    /s/ SPENCER W. WALDRON
                                                     KARL R. LINDEGREN
    9                                                SPENCER W. WALDRON
                                                     Attorneys for Defendant,
   10                                                INTERWEST CONSULTING
                                                     GROUP, INC.
   11

   12
        Date: July 22, 2016                          ZELDES HAEGGQUIST & ECK,
   13                                                LLP
   14
                                               By:    /s/ ALREEN HAEGGQUIST
   15                                                ALREEN HAEGGQUIST
                                                     AARON M. OLSEN
   16                                                Attorneys for Plaintiff,
                                                     SHERRY BECK
   17

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                                         CERTIFICATE OF SERVICE
    1
              I, the undersigned, am employed in the County of Orange, State of
    2   California. I am over the age of 18 and not a party to the within action; am
        employed with the law offices of FISHER & PHILLIPS LLP and my business
    3   address is 2050 Main Street, Suite 1000, Irvine, California, 92614.
    4         On July 22, 2016, I served the foregoing document entitled JOINT RULE
        26(f) REPORT, on all the appearing and/or interested parties in this action by
    5   placing   the original     a true copy thereof addressed as follows:
    6     Alreen Haeggquist                           Attorney for Plaintiff,
          Aaron M. Olsen                              SHERRY BECK
    7     Zeldes Haeggquist & Eck, LLP
          225 Broadway, Suite 2050
    8     San Diego, CA 92101
          T: (619) 342-8000
    9     F: (619) 342-7878
          alreenh@zhlaw.com
   10     aarono@zhlaw.com
   11          [by MAIL] I am readily familiar with the firm's practice of collection and
               processing correspondence for mailing. Under that practice it would be
   12          deposited with the U.S. Postal Service on that same day with postage thereon
               fully prepaid at Irvine, California in the ordinary course of business. I am
   13          aware that on motion of the party served, service is presumed invalid if
               postage cancellation date or postage meter date is more than one day after
   14          date of deposit for mailing this affidavit.
   15           [by PERSONAL SERVICE] I caused to be delivered by messenger such
               envelope(s) by hand to the office of the addressee(s). Such messenger is
   16          over the age of eighteen years and not a party to the within action and
               employed with ASAP Corporate Services, Inc., whose business address is:
   17          17817 Gillette Avenue, Irvine, California, 92614.
   18          [by ELECTRONIC SERVICE] I caused a true and correct copy thereof
               to be electronically filed using the Court’s Electronic Court Filing (“ECF”)
   19          System and service was completed by electronic means by transmittal of a
               Notice of Electronic Filing on the registered participants of the ECF
   20          System.
   21          FEDERAL - I declare that I am employed in the office of a member of the
               bar of this Court at whose direction the service was made.
   22
               Executed on July 22, 2016, at Irvine California.
   23
          Spencer W. Waldron                       By: /s/ Spencer W. Waldron
   24                       Print Name                                  Signature

   25

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                                              PROOF OF SERVICE
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